                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


                                                            CIVIL ACTION
                                                            NO: 15-10686-LTS


IN THE MATTER OF
GORDON E. PARRY, JR., as Owner of
2003 Chaparral Signature 280 cabin cruiser,
MS-2594-AJ, HIN-FGBA0331F203,
for Exoneration from or Limitation of Liability


              AFFIDAVIT OF ATTORNEY TERENCE G. KENNEALLY

   1. I am attorney at the law firm Clinton & Muzyka, P.C., counsel to the

      Claimant/Third-Party Defendant, 3A Marine Service, Inc.

   2. This Affidavit is submitted to place into the record portions of deposition transcripts

      and documents generated during the course of discovery in support of the

      Claimant/Third-Party Defendant, 3A Marine Service, Inc.’s, Response to Plaintiff’s

      Additional Statement of Undisputed Material Facts.

   3. Annexed hereto as Exhibit 1 are pages and exhibits from the Deposition of Patrick

      Desmond dated June 21, 2017.

   4. Annexed hereto as Exhibit 2 is a copy of Exhibit 7 from the Deposition of Plaintiff,

      Gordon Parry, dated January 31, 2017.

   5. Annexed hereto as Exhibit 3 are pages from the Deposition of John Crowley dated

      June 21, 2017.

   6. Annexed hereto as Exhibit 4 are pages, errata sheet and Exhibit 14 [highlighting for

      emphasis and clarity] from the Deposition of Steven Sundquist dated January 23,

      2018.
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  7. Annexed hereto as Exhibit 5 are pages and exhibits from the Deposition of Sergeant

     Girvalakis dated January 20, 2017.

  8. Annexed hereto as Exhibit 6 are pages from the Deposition of Michael Higgins

     dated January 25, 2018.

  9. All of the Exhibits were in the possession and/or knowledge of all Parties prior to

     the submission of the Claimant/Third-Party Defendant, 3A Marine Service, Inc.

     SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 22nd

DAY OF MARCH, 2018.


                                                   “/s/Terence G. Kenneally
                                                   Terence G. Kenneally
